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                                                                             20-cr-00150 (NEB/BRT)
                                                            GOVERNMENT
                                                              EXHIBIT

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